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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

SALVADOR PEREZ, JR.,                       )
                                           )
                      Plaintiff,           )
                                           )
v.                                         )       Case No. CIV-21-228-R
                                           )
P. STUCKEY, et al.,                        )
                                           )
                     Defendants.           )

                                          ORDER

       Plaintiff filed this action pursuant to 42 U.S.C. § 1983 seeking a temporary

restraining order and preliminary injunction. (Doc. No. 1). Included with his initial filing

was a document seeking leave to proceed in forma pauperis. (Doc. No. 2). The case was

referred to United States Magistrate Judge Suzanne Mitchell for preliminary review. On

March 22, 2021, Judge Mitchell issued a Report and Recommendation wherein she ordered

Plaintiff to cure certain deficiencies with regard to his initiating documents, specifically

that he did not file a complaint to initiate the action. Judge Mitchell also noted that,

although Plaintiff had filed an “Affidavit in Forma Pauperis” he had not used the correct

form, nor included the required statement of his inmate trust account. (Doc. No. 6). Plaintiff

was granted fourteen days to cure the defects in his initial filings.

       On March 31, 2021, Plaintiff filed a document entitled “Amended Complaint” and

an Application for Leave to Proceed in Forma Pauperis. (Doc. Nos. 7 and 8). On April 5,

2021, Judge Mitchell granted Plaintiff’s Application for Leave to Proceed in Forma

Pauperis and ordered him to pay an initial partial filing fee of $50.00 not later than April
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26, 2021. As noted by the Report and Recommendation, Plaintiff did not pay the filing fee

within the time limits set forth therein, nor did he request additional time in which to submit

the filing fee. As a result, the Report and Recommendation recommends that the case be

dismissed without prejudice.

       The record reflects that Plaintiff has not objected to the Report and

Recommendation within the time limits prescribed therein nor has he sought an extension

of time in which to object. Additionally, he has still not submitted the partial filing fee.

Therefore, the Court has no basis for rejecting or modifying the Report and

Recommendation in any manner. As such, the Report and Recommendation is ADOPTED

and this case is dismissed without prejudice.

       IT IS SO ORDERED this 7th day of June 2021.
